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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS




KWESI ABLORDEPPEY,                           )
                              Plaintiff      )
                                             )
                                             )
                v.                           )        Civil Action No. 21-11314-MGM
                                             )
                                             )
BENNETT WALSH, et al.,                       )
                              Defendants     )




                                    ORDER OF DISMISSAL
                                      September 30, 2022


        In accord with the court’s [51] Electronic Order Granting Defendants’ Motions to Dismiss

(Doc. Nos. 16, 28, 30, 32, and 34), the court hereby ORDERS this matter dismissed. The clerk is

directed to close the case.

IT IS SO ORDERED.



                                                      /s/ Mark G. Mastroianni
                                                     MARK G. MASTROIANNI
                                                     U.S. District Judge
